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                                                                October 21, 2021

Via ECF
 Hon. Vernon S. Broderick, U.S.D.J. (S.D.N.Y.)
 Thurgood Marshall Courthouse
 40 Foley Sq., New York, NY 10007

Re:    Avalon Holdings Corp. v. Gentile, et. al., No. 18-cv-7291-VSB;
       related to: New Concept Energy, Inc. v. Gentile, et. al., No. 18-cv-8896-VSB:
       Letter Regarding Pending Motions for Summary Judgment

Your Honor:

       I am one of the attorneys representing the Plaintiffs in the above-referenced related
actions pending before the Court. The Plaintiffs in both actions allege short swing trading
by the same Defendants under Section 16(b) of the Securities Exchange Act, 15 U.S.C. §
78p(b).

       I write to respectfully remind the Court that the parties have filed cross-motions for
summary judgment, which were fully briefed as of October 5, 2020 (see Reply Briefs,
Avalon, Dkt #90 & Dkt #91; New Concept, Dkt #83 & Dkt #84). As these motions have
remained pending for more than six months, I respectfully submit this reminder on behalf
of the Plaintiffs.

      Plaintiffs’ counsel are available for a conference to address the pending motions at
the Court’s convenience.

                     With all due respect,

                     s/ Miriam Tauber
                     Miriam Tauber

                     Attorney for Plaintiffs
                     Avalon Holdings Corp. and New Concept Energy, Inc.


cc: all counsel (via ECF)
